                      UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF NEW YORK


    PEOPLE OF THE STATE OF NEW YORK, by
    LETITIA JAMES,
    Attorney General of the State of New York,
                                                         Case No. 19-cv-9155 (ER)
                               Plaintiff,

                 v.                                      NOTICE OF MOTION TO
                                                         COMPEL PRODUCTION OF
    PENNSYLVANIA HIGHER EDUCATION                        DOCUMENTS PURSUANT TO
    ASSISTANCE AGENCY, d/b/a                             FED. R. CIV. P. 37
    FEDLOAN SERVICING and AMERICAN
    EDUCATION SERVICES,

                               Defendant.



         PLEASE TAKE NOTICE that, for the reasons set out in the accompanying

Memorandum of Law, plaintiff the New York Attorney General’s Office (“NYAG”) moves

pursuant to Federal Rule 37 to compel defendant Pennsylvania Higher Education Assistance

Agency (“PHEAA”) to produce documents created during the period of October 3, 2013 and

August 26, 2016 that are responsive to NYAG’s First Amended Request for Production of

Documents and Electronically Stored Information, dated June 23, 2020 (“the RFP”), attached to

accompanying Memorandum of Law, as Exhibit A.1

         NYAG certifies, pursuant to Federal Rule 37(a), that NYAG has, in good faith, met and

conferred with PHEAA regarding production of documents created during the period of October



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  NYAG exempts documents related to the deferment option for borrowers suffering from cancer
(the “Cancer Deferment”) from this motion. In contrast to the income-driven repayment and
Public Service Loan Forgiveness programs, which PHEAA has administered for more than a
decade, the Cancer Deferment first became available in September 2018. Accordingly, NYAG
does not seek documents related to the Cancer Deferment for the October 3, 2013 through
August 26, 2016 period.
3, 2013 through August 26, 2016. The parties have been unable to reach a resolution concerning

production of those documents. Accordingly, NYAG respectfully requests that the Court grant

its motion and compel PHEAA to produce the requested documents created in the period of

October 3, 2013 through August 26, 2016.

       Dated: March 25, 2021


                                    LETITIA JAMES
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